IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NAsHvILLE DIvIsIoN
sHARoN sIMMoNs, )
)
Plaintiff, )

V' § CAsE No: 3:09-Cv-571
HARTFoRD LIFE AND ACCIDENT )
INSURANCE coMPANY, )
)
Defendant. )

JOINT STIPULATION ()F DISMISSAL WITH PREJUDICE
COMES NOW the Plaintiff, Sharon Simrnons, by and through her counsel,

and Defendant, Hart.ford Life and Accident lnsurance Company, by and through its
undersigned counsel, and agree and stipulate that the above-styled action and all

claims contained therein should be dismissed With prejudice against Defendant

With each party to bear its own costs. W;/@M

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Robert F. Spann
Attorney for Plaintiff, Sharon
Simmons

OF COUNSEL:

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